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    Inc., f/k/a Bed Bath & Beyond Inc.

                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


20230930-DK-BUTTERFLY-1, INC., f/k/a
BED BATH & BEYOND INC.,                                           ECF CASE

               Plaintiff,
                                                         No. FY -+5  61
                       – v. –

HBC INVESTMENTS LLC and                               COMPLAINT FOR RECOVERY
HUDSON BAY CAPITAL                                    OF “SHORT-SWING” PROFIT
MANAGEMENT LP,                                          UNDER 15 U.S.C. § 78p(b)

               Defendants.                                    JURY DEMAND



              Plaintiff 20230930-DK-Butterfly-1, Inc., f/k/a Bed Bath & Beyond Inc.

(“BBBY”), by its undersigned counsel, pleads for its Complaint as follows:

                                   INTRODUCTION

              1.       This is an action to recover more than $300 million in profit

realized in violation of Section 16(b) of the Securities Exchange Act of 1934, as amended

(the “Act”), 15 U.S.C. § 78p(b).

              2.       Section 16(b) was enacted “[f]or the purpose of preventing the

unfair use of information which may have been obtained by [an insider] by reason of his
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relationship to the issuer.” 15 U.S.C. § 78p(b).

               3.      The statute applies to every director or officer of an issuer with a

class of equity securities registered under Section 12 of the Act. Id. § 78p(a). It also

applies to every “beneficial owner” of more than 10% of any such class. Id.

               4.      Under Section 16(b), these statutory insiders must return to the

issuer any profit realized on any purchase and sale, or sale and purchase, of the issuer’s

equity securities within any period of less than six months. Id. § 78p(b). If an insider

fails to return this “short-swing” profit, the issuer may bring suit to recover it. Id.

               5.      Liability under Section 16(b) is strict. The issuer has the right to

recover the profit from a short-swing transaction “irrespective of any intention on the part

of [the insider] . . . in entering into such transaction.” Id. Recovery never depends on

proof of scienter, a breach of duty, or the actual misuse of inside information. See

Reliance Elec. Co. v. Emerson Elec. Co., 404 U.S. 418, 422 (1972).

               6.      Plaintiff BBBY, the issuer formerly known as Bed Bath & Beyond

Inc., brings this action under Section 16(b) against two of its former investors: HBC

Investments LLC (“HBCI”) and Hudson Bay Capital Management LP (“Hudson Bay

Capital” and, collectively with HBCI, the “Hudson Bay Defendants”).

               7.      While beneficially owning more than 10% of BBBY’s common

stock, the Hudson Bay Defendants made hundreds of millions of dollars of profit from

                           transactions in BBBY’s equity securities,




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                8.      The common stock beneficially owned by the Hudson Bay

Defendants underlay derivative securities acquired from BBBY in a complex financing

launched on February 7, 2023.

                9.      These underlying BBBY shares far exceeded 10% of BBBY’s

outstanding common stock, but the terms of the derivative securities purported to cap the

Hudson Bay Defendants’ beneficial ownership by limiting their right to acquire the

underlying shares through conversion or exercise.

                10.     Nominally, the Hudson Bay Defendants were barred from

converting or exercising the derivative securities to the extent the resulting acquisition of

BBBY shares would make the Hudson Bay Defendants beneficial owners of more than

9.99% of BBBY’s outstanding common stock — a cap set just below the 10% threshold

for Section 16(b) liability.

                11.     This beneficial ownership “blocker” was illusory. It was drafted

by the Hudson Bay Defendants and solely for their benefit. BBBY had no way to enforce

the blockers in the derivative securities, and it had an incentive not to enforce them.

Policing the blockers meant self-policing by the Hudson Bay Defendants, who routinely

undercounted their beneficial ownership of BBBY’s common stock in contravention of

SEC rules.

                12.     The blockers’ deficiencies were laid bare in the first days of the

financing, when the Hudson Bay Defendants, relying on flawed and self-serving

beneficial ownership calculations, repeatedly tore through the 9.99% cap.

                13.     At the close of trading on February 7, 8, and 9, the Hudson Bay

Defendants beneficially owned




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               , far in excess of the limit purportedly set by the blockers. The Hudson

Bay Defendants served more than a dozen conversion and exercise requests over these

three days, repeatedly misrepresenting to BBBY their beneficial ownership of its

common stock.

               14.       The 9.99% beneficial ownership limitation applied only to

conversions and exercises of the derivative securities. Nothing stopped the Hudson Bay

Defendants from selling or otherwise disposing of the stock underlying the derivative

securities in any amount and at any time.

               15.




               16.       The flaws in the blockers left the Hudson Bay Defendants with an

effectively unlimited right to acquire beneficial ownership of the shares underlying the

derivative securities and an unchecked power to dispose of the shares underlying the

derivative securities.

               17.       These unconstrained rights and powers over the shares underlying

the derivative securities made the Hudson Bay Defendants “beneficial owner[s]” of those

shares for purposes of Section 16(b) of the Act. See 17 C.F.R. §§ 240.13d-3(a), (d)(1)(i),

240.16a-1(a)(1).

               18.       These underlying shares, when added to

                                         , amounted to more than 10% of BBBY’s




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common stock — often far more than 10% — at all times between February 7 and

April 18, 2023.

                19.    While beneficially owning more than 10% of BBBY’s outstanding

common stock, the Hudson Bay Defendants



                                              .

                20.    At the deal’s launch on February 7, 2023, the derivative securities

acquired by the Hudson Bay Defendants gave them approximately 80% of BBBY’s total

equity on a fully diluted basis, demoting BBBY’s large investor base to minority partners

in the firm.

                21.    Within a matter of weeks, the Hudson Bay Defendants would

convert and exercise these derivative securities to buy from BBBY,

               , 444 million new BBBY shares — more than 3.7 times the total number of

shares BBBY had outstanding at the start of the financing.

                22.




                23.




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               24.    The collapse of the stock had much less impact on the Hudson Bay

Defendants than on retail investors because the Hudson Bay Defendants’ derivative

securities generally gave them the right to acquire stock from BBBY at a discount to

market.



               25.    When all was said and done in April 2023, BBBY was bankrupt,

while the Hudson Bay Defendants had reaped a short-swing profit of over $300 million.

               26.    Under Section 16(b), that profit is the lawful property of BBBY,

which the Hudson Bay Defendants are strictly liable to account for and repay.

                                     THE PARTIES

               27.    Plaintiff BBBY is a corporation formed under the law of the State

of New York, with a principal place of business formerly located in Union, New Jersey.

BBBY was known as “Bed Bath & Beyond Inc.” at all relevant times until September 21,

2023, when it changed its name to “20230930-DK-Butterfly-1, Inc.” as part of its wind-

down following Chapter 11 bankruptcy.

               28.    Defendant HBCI is a limited liability company formed under the

law of the State of Delaware with a principal place of business located in Greenwich,

Connecticut. At all relevant times, HBCI operated as a private investment fund for the

benefit of its members and shared voting and investment control over its portfolio

securities with its investment adviser and managing member, Defendant Hudson Bay

Capital.

               29.    Defendant Hudson Bay Capital is a limited partnership formed

under the law of the State of Delaware with a principal place of business located in

Greenwich, Connecticut. Hudson Bay Capital controlled and sponsored Defendant HBCI


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and served at all relevant times as HBCI’s investment adviser and managing member.

Upon information and belief, and as is customary in the alternative asset management

industry, Hudson Bay Capital owned equity interests in HBCI and received fees based on

the performance of HBCI’s portfolio. Through these interests and fees, Hudson Bay

Capital enjoyed the opportunity to profit indirectly from HBCI’s investments.

                                      THE FACTS

I.     BACKGROUND

               30.    BBBY was founded in 1971 by two entrepreneurs in the suburbs of

New York City. In the 50 years leading up to its bankruptcy on April 23, 2023, BBBY

operated as a regionally- and then nationally-known retailer of home goods under the

names “Bed ’n Bath” and later “Bed Bath & Beyond.”

               31.    At all relevant times until September 29, 2023, BBBY’s common

stock was registered under Section 12(b) of the Act, 15 U.S.C. § 78l(b). The common

stock was listed for trading on the Nasdaq Global Select Market at all relevant times until

the exchange delisted it on May 3, 2023.

               32.    After hitting an all-time high of $80 per share in 2014, BBBY’s

stock price steadily eroded as the company failed to adapt to changing retail trends. In

2019, BBBY reported its first loss and sales decline in nearly three decades as a public

company.

               33.    The deterioration of the business accelerated in the new decade

with pandemic-related store closures, supply disruptions, and management missteps.

               34.    By the end of 2022, BBBY was in desperate need of cash.

               35.    While weighing its options for survival, BBBY was approached in

early 2023 by representatives of the Hudson Bay Defendants. Although the Hudson Bay


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Defendants had no prior investment in BBBY, they proposed to BBBY an extraordinary

financing that would soon hand them rights over the vast majority of BBBY’s fully

diluted common stock.

II.     THE HUDSON BAY FINANCING

        A.     The Financing Terms

               36.     The financing arrangement with the Hudson Bay Defendants,

signed on February 7, 2023, envisioned a complex transaction involving the issuance of

three new classes of derivative securities:

                       (a)     convertible preferred stock,

                       (b)     preferred stock warrants, and

                       (c)     common stock warrants.

               37.     BBBY issued these new securities in a registered offering

underwritten by B. Riley Securities, Inc. and “anchored” by the Hudson Bay Defendants.

The Hudson Bay Defendants purchased the vast majority of the offered securities, led the

negotiation of the deal, and drafted the main deal documents, tailoring many of the key

legal terms — including the 9.99% blockers at the heart of this case — to suit their needs.

               38.     The following paragraphs summarize the most significant terms of

the securities the Hudson Bay Defendants acquired from BBBY.

               1.      The Series A Preferred

               39.     On February 7, 2023, the Hudson Bay Defendants purchased

21,317 shares of BBBY’s newly issued Series A Convertible Preferred Stock (the

“Series A Preferred”). The shares of Series A Preferred acquired by the Hudson Bay

Defendants represented 90.00% of the 23,685 shares of Series A Preferred issued and

sold by BBBY on February 7.



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                40.     A copy of the Certificate of Amendment of the Certificate of

Incorporation that BBBY filed with the terms of the Series A Preferred is attached as

Exhibit A to this Complaint.

                41.     The Series A Preferred was convertible into BBBY’s common

stock at any time at the holder’s option at a conversion price equal to the lesser of (a) a

fixed price initially set at $6.15 per share; and (b) a floating price equal to the greater of

(i) 92% of the lowest volume-weighted average price (“VWAP”) over the last ten trading

days ending on the date of conversion, and (ii) $0.7160 per share.

                42.     The fixed conversion price of $6.15 per share proved wishful

thinking, for BBBY’s share price never cleared $4.00 after February 6, 2023. The

Hudson Bay Defendants ended up making all of their conversions of the Series A

Preferred at the market-discounted, floating exercise price, subject to the $0.7160 per

share floor.

                43.     The floating conversion term gave the Hudson Bay Defendants

access to BBBY’s common stock at a significant discount to market. Conversions were

based on the lowest VWAP over the last ten trading days, and the Hudson Bay

Defendants only had to pay 92% of that price, subject to the floor.

                44.     A further discount was built into the price of the Series A Preferred

itself. Each share of Series A Preferred had a face value of $10,000.00 but was issued

with an original issue discount of $500.00.

                45.     Thanks to that $500.00 discount, every $9,500.00 invested in the

Series A Preferred gave the Hudson Bay Defendants $10,000.00 of purchase power when

the Series A Preferred was converted into BBBY common stock.




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               2.     The Preferred Warrants

               46.    In addition to the 23,685 shares of Series A Preferred sold on

February 7, 2023, BBBY issued warrants to purchase up to 84,216 more shares of

Series A Preferred (the “Preferred Warrants”).

               47.    A copy of the Form of Preferred Warrant is attached as Exhibit B

to this Complaint.

               48.    The Preferred Warrants were issued pro rata at no additional cost

to any investor who purchased at least $75,000,000.00 of Series A Preferred in the

offering.

               49.    This minimum purchase condition was written for the Hudson Bay

Defendants. They were the only investors expected to buy more than $75 million of the

Series A Preferred, and no one else subscribed for anywhere near that much.

               50.    The Hudson Bay Defendants’ “pro rata” interest in the Preferred

Warrants thus came to 100%, and the Hudson Bay Defendants ended up acquiring all

84,216 Preferred Warrants issued on February 7.

               51.    Each Preferred Warrant was exercisable for one year at any time at

the holder’s option to purchase an additional share of BBBY’s Series A Preferred at the

same discounted price of $9,500.00.

               52.    BBBY also had a conditional right to force the Hudson Bay

Defendants to exercise the Preferred Warrants. This “forced exercise” right could be

invoked no more than once every 20 trading days, and for no more than 10,527 Preferred

Warrants at a time.

               53.    BBBY’s right to force exercises of the Preferred Warrants was

subject to numerous conditions. Among these were market conditions that denied BBBY


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the right to force exercises of the Preferred Warrants unless the price and volume of its

publicly traded common stock exceeded minimum thresholds.

                  54.   These conditions ensured that the Hudson Bay Defendants would

never be forced to buy additional Series A Preferred unless they had a strong and liquid

market where they could sell the underlying common stock.

                  3.    The Common Warrants

                  55.   Investors in BBBY’s Series A Preferred also received warrants to

purchase shares of BBBY’s common stock (the “Common Warrants”).

                  56.   A copy of the Form of Common Warrant is attached as Exhibit C

to this Complaint.

                  57.   The Common Warrants were “deal sweeteners” offered at no

additional cost to buyers of the Series A Preferred based on the size of their subscriptions.

                  58.   The Hudson Bay Defendants’ subscription entitled them to acquire

89,399,419 of the 95,387,533 Common Warrants issued on February 7.

                  59.   Each Common Warrant was exercisable for five years at any time

at the holder’s option to purchase one share of BBBY’s common stock at an exercise

price of $6.15.

                  60.   An “alternate cashless exercise” term also allowed the holder, in

lieu of making a cash payment of $6.15 per share, to relinquish 35% of the underlying

shares to which the holder was entitled and receive the remaining 65% of the shares at no

out-of-pocket cost.

                  61.   Because BBBY’s stock price never traded above $6.15 per share

after February 6, the Common Warrants were always “out of the money,” and the Hudson




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Bay Defendants ended up making all of their exercises of the Common Warrants as

alternate cashless exercises.

                  62.        Any investors who held Preferred Warrants — i.e., the Hudson

Bay Defendants — were also entitled to receive additional Common Warrants upon any

exercise of the Preferred Warrants. Each exercise of Preferred Warrants increased the

Hudson Bay Defendants’ balance of Common Warrants by 50% of the number of shares

of BBBY common stock into which the newly issued Series A Preferred were then

convertible.

                  4.         Summary of the Terms of the Derivative Securities

                  63.        This Complaint sometimes refers to the Series A Preferred, the

Preferred Warrants, and the Common Warrants collectively as the “Derivative

Securities”.

                  64.        Table 1 below summarizes the principal terms of the Derivative

Securities.

                   Table 1. Summary of the Principal Terms of the Derivative Securities.

                                   Series A Preferred           Preferred Warrants          Common Warrants

     Initial Number Issued                23,685                       84,216                    95,387,533

Initial Number Acquired by              21,317                         84,216                   89,399,419
the Hudson Bay Defendants         (90.00% of Issuance)          (100.00% of Issuance)      (93.72% of Issuance)

                                        $9,500.00
   Nominal Purchase Price                                              $0.00                        $0.00
                                per $10,000.00 face value

   Convertible/Exercisable                                        Series A Preferred
                                     Common Stock                                             Common Stock
             to Acquire…                                        and Common Warrants

                                Holder choice of: (a) $6.15
                                                                                         Holder choice of: (a) $6.15
 Conversion/Exercise Price       per share, or (b) 92% of
                                                                 $9,500.00 per share    per share, or (b) surrender of
   for Underlying Security       lowest 10-day VWAP,
                                                                                           35% of issuable shares
                                  subject to floor price

                                Perpetual unless converted
                    Term                                               1 year                      5 years
                                       or redeemed




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                                 Series A Preferred           Preferred Warrants   Common Warrants

                             Yes, upon forced exercise of
        Future Purchase
                             Preferred Warrants, subject             No                  No
          Commitment?
                                    to conditions

       Blockers Included
                                         Yes                         No                  Yes
      (Discussed Below)?



       B.        The Economics of the Hudson Bay Financing

                 65.       While the terms of the financing were complex, the economics

were simple. BBBY initially raised gross proceeds of around $225 million from the sale

of the Series A Preferred on February 7. Provided that the market price and volume

conditions could be satisfied for forced exercises of the Preferred Warrants, BBBY stood

to raise up to $800 million more over the next eight months from additional sales of

Series A Preferred to the Hudson Bay Defendants.

                 66.       In return for their initial investment in the Series A Preferred and

their further purchase commitment under the Preferred Warrants, the Hudson Bay

Defendants got the right to buy heavily discounted, freely tradable BBBY common stock

                                                                                     .

                 67.       To see what a bargain the Hudson Bay Defendants were getting,

consider that the 21,317 shares of Series A Preferred they bought on February 7 were

initially convertible into 89,842,796 shares of BBBY common stock. Based on the

closing price of $3.01 per share that day, those 89,842,796 underlying shares had a

market value of $270,426,815.96 — a 33% premium to the $202,511,500.00 the Hudson

Bay Defendants had invested just that morning.

                 68.       The 89,399,419 Common Warrants issued to the Hudson Bay

Defendants lowered the effective purchase price even further. The alternate cashless

exercise term gave the Hudson Bay Defendants an immediate interest, at no additional



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cost, in 0.65 × 89,399,419 = 58,109,623 shares of BBBY common stock. Those

58,109,623 shares had a market value of $174,909,965.23 at the close of February 7.

               69.    So for their $202,511,500.00 initial investment on February 7,

2023, the Hudson Bay Defendants received rights to acquire, at no further cost, BBBY

common stock worth a total of $270,426,815.96 + $174,909,965.23 = $445,336,781.19.

               70.    The Hudson Bay Defendants thus enjoyed an average cost of less

than $202,511,500.00 ÷ (89,842,796 + 58,109,623) = $1.37 per share for 147,952,419

underlying shares that had an initial market value of $3.01 per share.

        C.     The Hudson Bay Defendants’ Trading Program

               71.    BBBY’s financing arrangement with the Hudson Bay Defendants

lasted from February 7 to March 30, 2023.

               72.




               73.

traders in the United States are not required to make immediate delivery of the stock they

sell.

               74.    At the time of the Hudson Bay financing, SEC rules generally

allowed open-market stock trades to settle on a T+2 cycle, meaning that the seller could

take up to two trading days to make delivery on her sale.

               75.




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                 84.   A “meme stock” may be loosely defined as a publicly traded stock

with high retail speculative interest driven by viral promotion on social media. Trading

in meme stocks often sees heavy volume, high volatility, and a wide disconnect between

market price and fundamental value.

                 85.   The financial press and social media had dubbed BBBY a meme

stock by 2022,

                                                             .

                 86.

            by February 14 — only a week into the deal — they had already exercised all

but 19 of the 89,399,419 Common Warrants in their original allotment.

                 87.   To replenish their inventory, the Hudson Bay Defendants made a

voluntary exercise of Preferred Warrants on February 15, 2023. They paid BBBY

$23.75 million that day to acquire another 2,500 shares of Series A Preferred Stock and

7,282,261 more Common Warrants.

                 88.   The Hudson Bay Defendants would voluntarily exercise the

Preferred Warrants two more times, once on February 23 and then again on March 7.

BBBY raised a total of $58,757,500 from these two exercises of a total of 6,185 Preferred

Warrants.

                 89.   Including an additional forced exercise of 5,527 Preferred

Warrants on March 7, 2023, BBBY ended up raising a total of $135,014,000 from sales

of new shares of Series A Preferred to the Hudson Bay Defendants after February 7.

       D.        The Preferred Warrant Amendments

                 90.




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               95.     By March 9, the stock was down to $1.23 per share.

               96.     Trading below $1.25 per share jeopardized BBBY’s right to force

exercises of the Preferred Warrants. The market conditions in the Preferred Warrants

required BBBY to maintain a daily VWAP of at least $1.25 per share initially for each of

the 20 trading days prior to exercise.

               97.     To salvage the Preferred Warrants as a financing vehicle for its

urgent cash needs, BBBY began negotiations to lower the minimum price threshold, and

on March 13 the parties agreed to amend the Preferred Warrants.

               98.     A copy of the March 13 amendment to the Preferred Warrants is

attached as Exhibit D to this Complaint.

               99.     Under the terms of the amendment, the Hudson Bay Defendants

acquired the power, at any time and for any period of time, to unilaterally lower the

minimum price and volume conditions to forced exercise of the Preferred Warrants.

Ex. D at 1.

               100.    The amendment also served as notice of the Hudson Bay

Defendants’ election to lower the minimum price threshold. From the effective time of

the amendment through 9:00 a.m. on April 3, 2023, the market price threshold was

reduced from $1.25 per share to $1.00 per share.

       E.      The Exchange Agreement and Termination of the Financing

               101.    The decline in BBBY’s stock price outpaced the amendment.

Before BBBY was able to force another exercise of the Preferred Warrants, the stock

crashed below a dollar.

               102.    The stock spent all of March 20, 2023 below a buck, closing at

$0.8125 per share that day.


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               103.    On March 30, 2023, after it became clear that BBBY would not

likely be able to force any further exercises of the Preferred Warrants, BBBY and the

Hudson Bay Defendants agreed to terminate the financing.

               104.    The termination was effected through an Exchange Agreement

dated March 30, 2023 between BBBY and HBCI, a copy of which is attached as

Exhibit E to this Complaint.

               105.    Pursuant to the Exchange Agreement, the Hudson Bay Defendants

agreed to cancel the Preferred Warrants in exchange for (a) 10,000,000 new shares of

BBBY common stock and (b) the right to acquire up to 5,000,000 additional shares of

BBBY common stock at no cost upon BBBY’s completion of a reverse stock split or an

increase in its authorized shares.

               106.    While the Exchange Agreement cancelled the Preferred Warrants,

it had no effect on the Hudson Bay Defendants’ other BBBY holdings. The Hudson Bay

Defendants still held 10,019 shares of Series A Preferred, which were convertible as of

March 30 into more than 89 million shares of BBBY common stock.




               107.    The Hudson Bay Defendants continued to convert

                                           .

               108.




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       F.      BBBY’s Bankruptcy

               109.     BBBY tried to replace the Hudson Bay deal with new financing

sources negotiated through B. Riley Securities, Inc. The new financings included an “at-

the-market” agreement pursuant to which B. Riley Securities, Inc. would try to sell up to

$300 million shares of BBBY common stock from time to time through the open market.

               110.     The ongoing slide in the stock price and the dimming prospects for

BBBY’s business made it impossible for BBBY to raise sufficient funds through the new

financing arrangements with B. Riley Securities, Inc.

               111.     On April 23, 2023, BBBY filed a Chapter 11 bankruptcy petition,

and its business was liquidated.

III.   THE HUDSON BAY DEFENDANTS’ BENEFICIAL OWNERSHIP OF
       BBBY’S COMMON STOCK

               112.     When the Hudson Bay financing was launched on February 7,

2023, a total of 711,648,336 shares of BBBY common stock underlay the Hudson Bay

Defendants’ Derivative Securities as set forth in Table 2 below.

               Table 2. Shares of BBBY Common Stock Underlying the Hudson Bay
              Defendants’ Derivative Securities at the Close of the February 7 Offering.

                       Derivative Security             Underlying Common Stock

                        Series A Preferred                  89,842,796 Shares

                        Preferred Warrants                 532,406,121 Shares

                        Common Warrants                      89,399,419 Shares

                                       Total:             711,648,336 Shares


               113.     The figures in Table 2 are based on an initial conversion price for

the Series A Preferred of $2.3727 per share and assume no cashless exercises of the

Common Warrants.



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rules applicable under Section 13(d) of the Act. Rule 16a-1(a)(1) reads in pertinent part

as follows:

                  [F]or purposes of determining whether a person is a beneficial
                  owner of more than ten percent of any class of equity securities
                  registered pursuant to section 12 of the Act, the term “beneficial
                  owner” shall mean any person who is deemed a beneficial owner
                  pursuant to section 13(d) of the Act and the rules thereunder . . . .

17 C.F.R. § 240.16a-1(a)(1).

                  122.   Of the SEC’s rules under Section 13(d) of the Act, two are directly

relevant to calculating the extent of the Hudson Bay Defendants’ beneficial ownership of

BBBY’s common stock.

                  123.   First, Rule 13d-3(a)(1) provides that a person beneficially owns a

security over which he has or shares, directly or indirectly, voting or investment power.

The rule reads:

                  (a) For the purposes of sections 13(d) and 13(g) of the Act a
                  beneficial owner of a security includes any person who, directly or
                  indirectly, through any contract, arrangement, understanding,
                  relationship, or otherwise has or shares:

                          (1) Voting power which includes the power to vote, or to
                          direct the voting of, such security; and/or,

                          (2) Investment power which includes the power to
                          dispose, or to direct the disposition of, such security.

Id. § 240.13d-3(a).

                  124.   Second, Rule 13d-3(d)(1)(i) provides that, even if a person does

not presently have or share voting or investment power over a security, he will be deemed

to beneficially own the security if he has the right to acquire one or more of those powers

— through, for example, the exercise or conversion of a derivative security — within

60 days. The rule reads:




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               A person shall be deemed to be the beneficial owner of a
               security . . . if that person has the right to acquire beneficial
               ownership of such security, as defined in Rule 13d–3(a) within
               sixty days, including but not limited to any right to acquire: (A)
               Through the exercise of any option, warrant or right; [or] (B)
               through the conversion of a security . . . .

Id. § 240.13d-3(d)(1)(i).

               125.    Under Rule 13d-3(d)(1)(i), therefore, holders of immediately

convertible or exercisable derivative securities would ordinarily be deemed to

beneficially own the underlying shares for purposes of Section 13(d) of the Act, and

therefore for purposes of the 10% beneficial ownership standard of Section 16(b).

               126.    But the Hudson Bay Defendants’ investment in BBBY was not

their first brush with Section 16(b), see Greenberg v. Hudson Bay Master Fund Ltd.,

No. 14-cv-5226 (DLC), 2015 U.S. Dist. LEXIS 62236 (S.D.N.Y. May 12, 2015), and

they had a plan for avoiding any disclosure and disgorgement obligations arising from

their ownership of the Derivative Securities.

       B.      The Blockers

               127.    In an attempt to suppress their beneficial ownership of BBBY’s

common stock, the Hudson Bay Defendants drafted exercise and conversion caps, or

“blockers,” into the terms of the Series A Preferred and Common Warrants.

               128.    These blockers purported to limit the Hudson Bay Defendants’

ability to convert the Series A Preferred or exercise the Common Warrants to the extent

that conversion or exercise would make the Hudson Bay Defendants beneficial owners of

more than 9.99% of BBBY’s outstanding common stock.

               129.    The blocker for the Series A Preferred is found in Section 4(d) of

the Certificate of Amendment of the Certificate of Incorporation of BBBY filed with the




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New York Secretary of State on February 6, 2023. Section 4(d) reads in pertinent part as

follows:

                The Company shall not effect the conversion of any of the
                Preferred Shares held by a Holder, and such Holder shall not have
                the right to convert any of the Preferred Shares held by such
                Holder pursuant to the terms and conditions of this Certificate of
                Amendment and any such conversion shall be null and void and
                treated as if never made, to the extent that after giving effect to
                such conversion, such Holder together with the other Attribution
                Parties collectively would beneficially own in excess of 9.99% (the
                “Maximum Percentage”) of the shares of Common Stock
                outstanding immediately after giving effect to such conversion. . . .
                For purposes of clarity, the shares of Common Stock issuable to a
                Holder pursuant to the terms of this Certificate of Amendment in
                excess of the Maximum Percentage shall not be deemed to be
                beneficially owned by such Holder for any purpose including for
                purposes of Section 13(d) or Rule 16a-1(a)(1) of the 1934 Act.

Ex. A § 4(d).

                130.   The blocker for the Common Warrants is found in Section 1(f) of

the form of warrant and reads in pertinent part as follows:

                The Company shall not effect the exercise of any portion of this
                Warrant, and the Holder shall not have the right to exercise any
                portion of this Warrant, pursuant to the terms and conditions of this
                Warrant and any such exercise shall be null and void and treated as
                if never made, to the extent that after giving effect to such exercise,
                the Holder together with the other Attribution Parties collectively
                would beneficially own in excess of 9.99% (the “Maximum
                Percentage”) of the shares of Common Stock outstanding
                immediately after giving effect to such exercise. . . . For purposes
                of clarity, the shares of Common Stock issuable pursuant to the
                terms of this Warrant in excess of the Maximum Percentage shall
                not be deemed to be beneficially owned by the Holder for any
                purpose including for purposes of Section 13(d) or Rule 16a-
                1(a)(1) of the 1934 Act.

Ex. C § 1(f).

                131.   Each of the blockers gave the Hudson Bay Defendants the

unilateral right to lift the 9.99% beneficial owner cap at any time by notice to BBBY. No




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such notice would be effective, however, until the 61st day after delivery — just outside

the 60-day window within which an acquisition right would entail beneficial ownership

under Rule 13d-3(d)(1)(i).

       C.      Disclosure Avoidance

               132.    Relying on the legal engineering of the blockers, the Hudson Bay

Defendants took the position that none of the Derivative Securities conferred on them

beneficial ownership of more than 9.99% of BBBY’s common stock.

               133.    Based on that position, the Hudson Bay Defendants never filed

with the SEC any statements of beneficial ownership under Sections 13(d) or 13(g) of the

Act, or any reports of beneficial ownership or changes in beneficial ownership under

Section 16(a) of the Act, relating to their investment in BBBY.

               134.    The Hudson Bay Defendants’ interest in avoiding public disclosure

of their involvement in the financing was one of the motivating factors behind the

inclusion of the blockers in the Derivative Securities.

               135.    Structuring the deal as an underwritten public offering rather than a

private placement furthered the Hudson Bay Defendants’ goal of disclosure avoidance.

               136.    The Hudson Bay Defendants were the whale in the offering. The

Derivative Securities they purchased were convertible or exercisable to acquire more than

97.8% of all of the common stock underlying the Derivative Securities sold by BBBY on

February 7. The remaining 2.2% of the underlying equity was divided among 28 other

investors.

               137.    Even though the Hudson Bay Defendants had spearheaded the deal

and purchased the lion’s share of the offered securities, the financing documents did not




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have to disclose the Hudson Bay Defendants’ involvement if the offering was publicly

registered and intermediated by an underwriter.

               138.    Instead of identifying the Hudson Bay Defendants, the prospectus

for the offering referred to them with cryptic sobriquets like “the holder that purchased at

least 20,000 shares of Series A Convertible Preferred Stock.”

               139.    This opaque disclosure was required by the Hudson Bay

Defendants. On February 6, 2023, the eve of the financing, BBBY signed a side letter

with the Hudson Bay Defendants (the “Side Letter”) that limited BBBY’s right to

disclose the Hudson Bay Defendants’ participation in the deal.

               140.    A copy of the Side Letter is attached as Exhibit G to this

Complaint.

               141.    In Section 2(f)(ii) of the Side Letter (entitled “Limitations on

Disclosure”), BBBY expressly covenanted that “[w]ithout the prior written consent of the

Investor (which may be granted or withheld in the Investor’s sole discretion), the

Company shall not (and shall cause each of its Subsidiaries and affiliates to not) disclose

the name of the Investor in any filing, announcement, release or otherwise.” Ex. G

§ 2(f)(ii).

               142.    The Hudson Bay Defendants’ participation in the deal would not

be officially confirmed until March 14, when BBBY disclosed the amendment of the

Preferred Warrants.

               143.    Until that time, the Hudson Bay Defendants’ involvement was

publicly known thanks only to reporting by Bloomberg. An article published by




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Bloomberg on February 7 outed the Hudson Bay Defendants as the lead investor based

on sources “with knowledge of the matter” who “asked not to be named.”

               144.    The Hudson Bay Defendants wanted to downplay their role in the

financing to avoid the notoriety that followed previous hedge fund investments in meme

stocks, like GameStop Corp.

               145.    When a short squeeze sent GameStop’s stock soaring in early

2021, triumphant retail investors took to social media to celebrate the losses dealt to

hedge funds short the stock.

               146.    The head of one of those hedge funds, Melvin Capital, was so

aggressively hounded by GameStop investors that he reportedly hired extra security for

his family. See Anders Melin & Hema Parmar, “Death Threats and Hate Force Hedge

Funds to Step Up Security,” Bloomberg (Feb. 5, 2021), at https://www.bloomberg.com/

news/articles/2021-02-05/death-threats-and-hate-force-hedge-funds-to-step-up-security.

               147.    Another hedge fund investor who was accused of shorting the

stock, Steve Cohen of Point72 Asset Management, said his family faced personal threats

from GameStop investors.

               148.    A third hedge fund investor, Ken Griffin of Citadel Securities, was

so irate at the media’s portrayal of his role in the fiasco that he reportedly threatened

Sony Pictures with legal action when the affair was dramatized in the movie “Dumb

Money.”

               149.    The Hudson Bay Defendants wanted to avoid this kind of fallout in

their own meme investment. They knew




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              , and they knew BBBY’s investors would point fingers at them just as

GameStop investors had fingered the hedge funds that allegedly tried to sink its stock.

               150.    The blockers thus served the dual purposes of liability avoidance

and disclosure avoidance. The Hudson Bay Defendants relied on the blockers not only to

structure around Section 16(b)’s disgorgement obligations but also to structure around the

disclosure obligations of Sections 13(d), 13(g), and 16(a) of the Act.

       D.      The Deficiencies of the Blockers

               151.    Structuring devices like the blockers in the Derivative Securities

are not doomed to failure.

               152.    On the contrary, binding blockers that effectively deny an investor

the right to acquire beneficial ownership of equity securities have been respected as a

means of avoiding Section 13 and 16 obligations. See, e.g., Levy v. Southbrook Int’l

Invs., Ltd., 263 F.3d 10, 13-17 (2d Cir. 2001).

               153.    To be respected as a legitimate structuring method, however, the

blockers must actually be binding and effective: “When the limitations provided by [the

blockers] are discovered to be illusory or a sham, they should be disregarded and the

courts should analyze the case as though no such limitations existed.” Id. at 17 n.5

(quoting Br. of the SEC as Amicus Curiae at 25, Southbrook Int’l, 263 F.3d 10 (2d Cir.

2001) (No. 00-7630)) (BBBY’s emphasis).

               154.    The Hudson Bay Defendants’ blockers failed this test. For two

reasons, the blockers never placed a genuinely binding and effective constraint on the

Hudson Bay Defendants’ beneficial ownership of BBBY common stock.

               155.    First, the 9.99% cap on conversions and exercises of the Derivative

Securities was an illusory contrivance that did not bind the Hudson Bay Defendants in


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practice. The enforcement of the cap depended always on BBBY, which had neither the

means nor the inclination to police compliance, reducing the blockers to an honor system.

The Hudson Bay Defendants repeatedly dishonored that system, calculating their

beneficial ownership in violation of SEC rules and

                                            .

               156.   Second, the 9.99% cap applied only to conversions and exercises

of the Derivative Securities. It placed no limit, effective or otherwise, on the Hudson Bay

Defendants’ power to sell the underlying shares. The Hudson Bay Defendants enjoyed

significant dispositive power over those shares,                                .

               1.     The Blockers Placed No Effective Limit on Conversions and
                      Exercises

               157.   In an amicus brief filed at the Second Circuit’s invitation in

Southbrook, the SEC identified the following factors as relevant to determining whether a

blocker (or “conversion cap”) is illusory or binding:

               Factors that may indicate that a conversion cap is illusory include
               whether the cap:

                      x       is easily waivable by the parties (particularly the
                              holder of the convertible securities);

                      x       lacks an enforcement mechanism;

                      x       has not been adhered to in practice; or

                      x       can be avoided by transferring the securities to an
                              affiliate of the holder.

               Factors that may indicate that a cap is binding include whether it:

                      x       is provided in the certificate of designation or the
                              issuer’s governing instruments;

                      x       reflects limitations established by another
                              regulatory scheme applicable to the issuer; or



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                       x       is the product of bona fide negotiations between the
                               parties.

               Limitations on the number of conversions that may take place over
               a period of time may add integrity to such provisions, although
               they are not essential.

Br. of the SEC as Amicus Curiae at 25, Southbrook, 263 F.3d 10 (No. 00-7630).

               158.    A copy of the SEC’s amicus brief is attached as Exhibit H to this

Complaint.

               159.    The blockers in the Hudson Bay Defendants’ Derivative Securities

satisfied almost none of the SEC’s criteria for effectiveness, as the following paragraphs

demonstrate.

                       a.      The Blockers Did Not Reflect Any Independent
                               Regulatory Scheme Applicable to BBBY

               160.    The blockers served no independent compliance function. BBBY

was not a highly regulated business subject to investment controls, and no law,

regulation, or exchange rule required BBBY to place any cap on investors’ beneficial

ownership of its securities.

               161.    The sole purpose of the blockers was to help the Hudson Bay

Defendants sidestep the disclosure and disgorgement obligations of Sections 13 and 16 of

the Act.

                       b.      The Blockers in the Common Warrants Were Not
                               Mandated by BBBY’s Certificate of Incorporation

               162.    The blockers in the Common Warrants could be freely waived or

amended. Unlike the terms of the Series A Preferred, which were enshrined in BBBY’s

certificate of incorporation, the terms of the Common Warrants were purely contractual.




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               163.   Although Section 11 of the Common Warrants purported to deny

the parties the power to amend the blockers, that language was no genuine impediment.

The Common Warrants held by the Hudson Bay Defendants were a bilateral agreement

between BBBY and HBCI with no third-party beneficiaries. The parties to such an

agreement always have the power to amend it.

               164.   However firmly Section 11 might purport to limit the parties’

ability to amend the blocker in Section 1(f), the parties always had the power to amend

Section 11 to remove that limitation and then amend the blocker.

               165.   The clause in Section 1(f) that purported to limit waivers of the

blockers was infirm for the same reason: the parties could always amend Section 11 to

remove the limitation on blocker amendments, then amend the blockers to remove the

limitation on waivers, and then waive the blockers.

               166.   The vulnerability of the Common Warrant blockers to amendment

and waiver matters because of the number of Common Warrants underlying the Preferred

Warrants. The common stock underlying just the Common Warrants issuable upon

exercise of the Preferred Warrants exceeded 10% of BBBY’s outstanding shares at all

times from February 7 until March 30, 2023. See Ex. F tbls. 1-2.

               167.   The shares supposedly blocked by Section 1(f) of the Common

Warrants could be unblocked at any time simply by amending or waiving that section.

                      c.      The Blockers Were Not the Product of Bona Fide
                              Negotiations and Could Be Easily Amended

               168.   Getting BBBY’s consent to amend the blockers in the Common

Warrants posed no genuine obstacle. The blockers were drafted by and for the benefit of

the Hudson Bay Defendants. Beyond keeping the Hudson Bay Defendants happy, the




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blockers served no purpose for BBBY, which did not care whether they were enforced,

modified, or terminated.

               169.   This is not the common case where the issuer’s management is

scrutinizing every stock accumulation to stymie activists and preempt a change in

control.

               170.   BBBY had already shopped itself in late 2022 with no success, and

by February 2023 it was issuing hundreds of millions of shares to whoever would buy

them in a desperate bid to keep the company afloat.

               171.   If someone wanted to acquire more than 9.99% of BBBY’s

common stock, management would have been thrilled.

               172.   In fact, BBBY would have much preferred a white knight prepared

to buy and hold a controlling stake in the company

                                                                               .

               173.   But BBBY’s paramount concern in early 2023 was saving its

business, which meant raising cash and raising it fast, in any way possible.

               174.   BBBY would have gladly amended the Common Warrants if that’s

what it took to keep the Hudson Bay Defendants buying BBBY stock.

               175.   That’s exactly what BBBY did with the Preferred Warrants. When

BBBY’s stock price fell below the minimum price for forced exercises, BBBY rushed to

amend the Preferred Warrants so it could sell the Hudson Bay Defendants more stock.

               176.   Had the Hudson Bay Defendants asked BBBY to remove the

blockers in the Common Warrants to let them buy more stock, BBBY would have

amended the Common Warrants just as quickly.




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               177.   The blockers were only there to keep the Hudson Bay Defendants

happy; if the Hudson Bay Defendants decided they’d be happier without them, the

blockers in the Common Warrants would be gone.

                      d.      BBBY Had No Way to Enforce the Blockers and No
                              Effective Remedy for Breach

               178.   Even if BBBY had the will to enforce the blockers, it lacked the

means.

               179.   The Certificate of Incorporation gave BBBY no way to sanction,

and thus no way to deter, a conversion of the Series A Preferred in excess of the 9.99%

cap.

               180.   As for the Common Warrants, a breach of the blockers gave rise at

most to a contract claim. That was an ineffective sanction because BBBY would have no

damages. Only the Hudson Bay Defendants benefitted from the blockers, so it was no

loss to BBBY if the blockers were disregarded.

               181.   BBBY also had no way to monitor

                                                  or know the true extent of the Hudson

Bay Defendants’ beneficial ownership.

               182.   The Hudson Bay Defendants had no duty to quantify their

beneficial ownership when they delivered a conversion or exercise request to BBBY.

BBBY never received any “end of the trading day” tally

                                                                                            .

               183.   The Side Letter expressly barred BBBY from making any inquiry

into the legitimacy of the Hudson Bay Defendants’ conversion and exercise requests.

Section 2(n) of the Side Letter recited that the forms of conversion and exercise notices




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“set forth the totality of the procedures required of the Investor in order to exercise the

Preferred Warrants or the Common Warrants or convert the Preferred Shares.” Ex. G

§ 2(n). The language went on to forbid BBBY from requesting any “other information”

from the Hudson Bay Defendants. Id.

               184.    The Side Letter also obligated BBBY to instruct its transfer agent

to issue BBBY common shares to the Hudson Bay Defendants “in such amounts as

specified from time to time by the Investor.” Id. § 3(b). BBBY was forbidden to instruct

its transfer agent to issue the shares in any other amount. Id.

               185.    Compliance with the blockers had to be taken on faith, and the

conversion and exercise requests taken at face value.

               186.    Each conversion or exercise request included a perfunctory

representation that the acquisition effected thereby would not make the Hudson Bay

Defendants beneficial owners of more than 9.99% of BBBY’s common stock. For

example:

               [T]his Conversion Notice shall constitute a representation by the
               Holder of the Preferred Shares submitting this Conversion Notice
               that after giving effect to the conversion provided for in this
               Conversion Notice, such Holder (together with its affiliates) will
               not have beneficial ownership (together with the beneficial
               ownership of such Person’s affiliates) of a number of shares of
               Common Stock which exceeds the Maximum Percentage.”

Ex. I at 1; see also Ex. J at 1 (similar language for exercises of the Common Warrants).

               187.    That representation was unreliable on its face. By its terms, the

representation only added the holder’s beneficial ownership “together with the beneficial

ownership of such Person’s affiliates.” Id.

               188.    This Court has already rejected substantially similar language in

another blocker previously employed by affiliates of the Hudson Bay Defendants to avoid


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liability under Section 16(b). See Greenberg v. Hudson Bay Master Fund Ltd., No. 14-

cv-5226 (DLC), 2015 U.S. Dist. LEXIS 62236, at *6 (S.D.N.Y. May 12, 2025) (“[T]his

Note shall not be exercisable by the Holder hereof to the extent (but only to the extent)

that giving effect to such conversion or other share issuance hereunder the Holder

(together with its affiliates) would beneficially own in excess of 9.99% . . . of the

Common Stock.” (BBBY’s emphasis)).

               189.    The Court found this language insufficient because it undercounted

beneficially owned shares. See id. at *18-*20. The count was underinclusive because the

language omitted stock beneficially owned by nonaffiliates of the investor who were

acting together with the investor as part of a stockholder group. See id. SEC rules would

require these group shares (not just affiliate shares) to be included in any calculation for

an accurate measure of the investor’s beneficial ownership. See 17 C.F.R. § 240.13d-

5(b)(1)(i).

               190.    BBBY had no way of knowing over the course of the financing

whether the Hudson Bay Defendants were coordinating with other BBBY investors as

part of a stockholder group. This uncertainty made the representations in the conversion

and exercise requests unreliable because BBBY could not know whether an accurate

count of the Hudson Bay Defendants’ beneficial ownership “together with [their]

affiliates” excluded group shares that would have lifted the Hudson Bay Defendants over

the 10% threshold.

               191.    Misrepresentation of the count is more than a hypothetical

possibility. BBBY’s investigation following its bankruptcy has confirmed that the




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Hudson Bay Defendants were miscalculating their beneficial ownership over the entire

course of their dealings with BBBY.

                192.    Voluminous trading records produced to BBBY under Bankruptcy

Rule 2004 show

                                                                                          .

                193.




                194.    Rule 13d-3(d)(1)(i) explains how the numerator and denominator

of the percentage beneficial ownership calculation are to be adjusted to account for shares

underlying derivative securities.

                195.    As previously explained, the rule requires an investor to include in

the numerator any securities the investor has “the right to acquire . . . within sixty days,”

as through conversion or exercise of a derivative security. 17 C.F.R. § 240.13d-

3(d)(1)(i).

                196.    The rule also requires the investor to include those same acquirable

shares in the denominator. See id. (“Any securities not outstanding which are subject to

such options, warrants, rights or conversion privileges shall be deemed to be outstanding

for the purpose of computing the percentage of outstanding securities of the class owned

by such person . . . .”).

                197.    In computing their percentage beneficial ownership of BBBY’s

common stock, the Hudson Bay Defendants habitually failed to make these consistent




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adjustments to the numerator and denominator

                          .

               198.    The very first transaction the Hudson Bay Defendants made on

February 7, at 9:08 a.m., was the submission to BBBY of a request to exercise

5,000,000 Common Warrants.

               199.    Because the request elected an “alternate cashless exercise,” the

submission of the request gave the Hudson Bay Defendants the “right to acquire” 0.65 ×

5,000,000 = 3,250,000 shares of BBBY common stock within two trading days.

               200.




               201.




               202.




               203.    This treatment violated Rule 13d-3(d)(1)(i).

               204.

                                                       BBBY would not issue those

shares until February 8 at the earliest.




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               205.     BBBY’s books and records show unambiguously that BBBY had

the same number of shares — namely, 116,837,942 — outstanding at 4 p.m. on both

February 6 and February 7, 2023.

               206.

                                         the shares were deemed outstanding as “subject

to . . . warrants” giving the Hudson Bay Defendants the “right to acquire” the shares

“within sixty days.” 17 C.F.R. § 240.13d-3(d)(1)(i).

               207.     But if the Hudson Bay Defendants still had the “right to acquire”

those            shares from BBBY (as they clearly did), then those shares also had to be

included in the numerator of the calculation under the plain terms of the rule.

               208.     Put simply, the Hudson Bay Defendants either did or did not have

the right to acquire beneficial ownership of those            shares from BBBY within

60 days on the morning of February 7, 2023. If they did have the right to acquire

beneficial ownership of those shares from BBBY within 60 days, then the shares should

have been included in the numerator of the calculation. If they did not have the right to

acquire beneficial ownership of those shares from BBBY within 60 days, then there was

no basis for including the shares in the denominator either, since the shares were not

actually outstanding.

               209.

                                                                       , the Hudson Bay

Defendants artificially suppressed their percentage beneficial ownership of BBBY’s

common stock.




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               210.    This incorrect accounting was repeated

                                            . It served as the basis for the beneficial

ownership representation included in each one of the scores of conversion and exercise

requests submitted to BBBY by the Hudson Bay Defendants during that period.

               211.    As a result of this flawed methodology, the beneficial ownership

representations in the Hudson Bay Defendants’ conversion and exercise requests, which

served as the sole means of monitoring compliance with the blockers, were necessarily

and universally unreliable.

                       e.         The Blockers Placed No Limit on the Number or
                                  Frequency of Conversion Requests

               212.

                            would have hampered enforcement of the blockers even if

(contrary to fact) BBBY were sufficiently motivated and well informed to monitor

compliance.

               213.    The Derivative Securities gave the Hudson Bay Defendants the

right to submit any number of conversion and exercise requests at any time.

               214.    The Hudson Bay Defendants avidly exercised this right, burying

BBBY’s representatives under a pile of stock demands.

               215.    In the 52 trading days between February 7 and the April 23

bankruptcy petition date, the Hudson Bay Defendants submitted a total of 90 conversion

or exercise requests to BBBY.

               216.    These numbers do not show the full picture, however, because the

Hudson Bay Defendants’ requests were frontloaded, with a large quantity submitted in

the first few days of the deal.




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                217.    The Hudson Bay Defendants’ own records show that



     .

                218.




                219.    When the Hudson Bay Defendants’ requests were added to those

of the 28 minority investors, BBBY had to process a total of 47 conversion or exercise

requests over just the first two days of the deal.

                220.    Under the circumstances of the financing, when BBBY’s personnel

were scrambling under white-knuckle stress and round-the-clock work to save the

business from ruin amid harrying demands from creditors and vendors, this torrent of

conversion and exercise requests was overwhelming.

                221.    The Hudson Bay Defendants compounded the chaos by exercising

their right to revise and resubmit many of their conversion requests.

                222.    These revised conversion requests reflected lower conversion

prices that had been triggered by stock declines following the delivery of the original

requests. Because the number of issuable BBBY shares depended on the conversion

price, these revised requests also had to update the number of BBBY shares requested.

                223.    But many of the Hudson Bay Defendants’ revisions went beyond

updates to the conversion price and number of issuable BBBY shares. Many of them also

changed the number of shares of Series A Preferred submitted for conversion, and thus

the total dollar value of the transaction.




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               224.   In two cases, these revisions were material, and it appears the

Hudson Bay Defendants simply changed their minds about how much Series A Preferred

they wanted to convert.

               225.   BBBY’s records show that the Hudson Bay Defendants revised

and resubmitted 16 conversion requests in February 2023, 11 of which included revisions

to the number of shares of Series A Preferred tendered for conversion.

               226.   The Hudson Bay Defendants thus submitted a total of 106 original

or revised conversion or exercise requests between February 7 and the April 23

Chapter 11 petition date.

               227.   BBBY’s personnel were faced with processing a breakneck train of

conversion and exercise requests that included new demands for stock plus updates to

prior demands already in process.

               228.   This shambolic FUXVK RI SDSHU, coupled with the Hudson Bay

Defendants’ funny math described above, all but guaranteed that mistakes would be made

and that the 9.99% cap would be breached.

               229.   And that is exactly what happened.

                      f.     The Blockers Were Repeatedly Breached

               230.   The Hudson Bay Defendants exceeded the 9.99% threshold on

multiple occasions, contravening the blockers and breaching their beneficial ownership

representations to BBBY.

               231.   Consider the nine conversion and exercise requests the Hudson

Bay Defendants submitted to BBBY on February 7, 2023.




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               238.    On the contrary, the Hudson Bay Defendants could




               239.    Without the right to acquire the underlying shares from BBBY, the

Hudson Bay Defendants would have needed an alternative source of stock (such as an

open-market purchase of BBBY shares)                                     .

               240.    The Hudson Bay Defendants beneficially owned the shares subject

to pending conversion and exercise requests for the additional reason that the Hudson

Bay Defendants continued to hold voting power over the shares until the shares were re-

registered in the names of the Hudson Bay Defendants’ buyers.

               241.    The Hudson Bay Defendants’ voting power over the pending

shares is clear from the terms of the Series A Preferred and Common Warrants.

               242.    The terms of the Series A Preferred unambiguously provide that

“[t]he Person or Persons entitled to receive the Conversion Shares issuable upon a

conversion of Preferred Shares shall be treated for all purposes as the record holder or

holders of such Conversion Shares on the Conversion Date.” Ex. A § 4(c)(i).

               243.    The Common Warrants unambiguously provide that, “[u]pon

delivery of an Exercise Notice . . . , the Holder shall be deemed for all corporate purposes

to have become the holder of record” of the underlying shares. Ex. C § 1(a).

               244.    As the “holder of record” of shares noticed for conversion or

exercise, the Hudson Bay Defendants would have the power to vote those shares on any

matter submitted to BBBY’s stockholders of record.




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                245.




                246.   In the interim, the Hudson Bay Defendants enjoyed the privileges

of record holders of BBBY common stock, including the power to vote and direct the

disposition of the shares noticed for conversion or exercise.

                247.   The documentation for the settlement of the conversion and

exercise requests bears out that the “right to acquire” the shares noticed for conversion or

exercise belonged to the Hudson Bay Defendants until the delivery of those shares by

BBBY.

                248.   Attached as Exhibits I and J to this Complaint are typical examples

of conversion and exercise requests submitted to BBBY by the Hudson Bay Defendants.

                249.   None of the conversion or exercise requests directed that BBBY

issue the shares noticed for conversion or exercise to any of the Hudson Bay Defendants’

buyers or, for that matter, to any persons other than the Hudson Bay Defendants.

                250.   All of the conversion and exercise requests directed that BBBY

issue the shares for the account of the Hudson Bay Defendants at Fidelity Investments,

their agent broker.

                251.   The Deposit/Withdrawal at Custodian (“DWAC”) records for

BBBY common stock corroborate that the right to acquire the underlying shares

remained with the Hudson Bay Defendants as long as their conversion or exercise notices

were pending.




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               252.    The DWAC records show that BBBY made delivery of all shares

in satisfaction of the Hudson Bay Defendants’ conversion or exercise requests to

accounts or subaccounts in the names of “HBC INVESTMENTS LLC,” “HBC INV

LLC,” “HUDSON BAY INV,” or similar names.

               253.    These records show unambiguously that it was the Hudson Bay

Defendants who enjoyed the “right to acquire” beneficial ownership of the common stock

underlying any Derivative Securities the Hudson Bay Defendants noticed for conversion

or exercise.

               254.    And it was the Hudson Bay Defendants who continued to exercise

the right to acquire beneficial ownership of that underlying common stock until BBBY

satisfied the conversion and exercise requests by crediting the stock to the Hudson Bay

Defendants’ account at Fidelity Investments.

               255.    BBBY was obligated to satisfy all conversion and exercise

requests within two trading days. See Ex. A § 4(c)(i), 4(e)(iii); Ex. C § 1(a), (d).

               256.    It follows that, for as long as the Hudson Bay Defendants’

conversion and exercise requests were pending, the Hudson Bay Defendants had the

“right to acquire” beneficial ownership of the shares subject to those requests “within

sixty days,” and thus beneficially owned those shares within the plain terms of Rule 13d-

3(d)(1)(i).

               257.    When the beneficial ownership determination correctly accounts

for the Hudson Bay Defendants’ full acquisitive rights in the shares subject to their

pending conversion and exercise requests, it is a mathematical certainty that the Hudson

Bay Defendants repeatedly transgressed the 9.99% cap purportedly set by the blockers.




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               258.   Specifically, the Hudson Bay Defendants beneficially owned more

than 9.99% of BBBY’s common stock at 4 p.m. New York City time on February 7,

2023:

                      (a)     At that time, the Hudson Bay Defendants had the right to

        acquire beneficial ownership of a total of 31,965,740 shares of BBBY common

        stock within 60 days through pending conversion or exercise requests.

                      (b)     At the same time, BBBY had outstanding approximately

        116,837,942 shares of common stock.

                      (c)     At that time, therefore, the shares subject to the Hudson

        Bay Defendants’ pending conversion and exercise requests gave them beneficial

        ownership of 31,965,740 ÷ (116,837,942 + 31,965,740) = 21.48% of BBBY’s

        outstanding common stock.

               259.   The Hudson Bay Defendants also beneficially owned more than

9.99% of BBBY’s common stock at 4 p.m. New York City time on February 8, 2023:

                      (a)     At that time, the Hudson Bay Defendants had the right to

        acquire beneficial ownership of a total of 48,215,740 shares of BBBY common

        stock within 60 days through pending conversion or exercise requests.

                      (b)     At the same time, BBBY had outstanding approximately

        122,532,421 shares of common stock.

                      (c)     At that time, therefore, the shares subject to the Hudson

        Bay Defendants’ pending conversion and exercise requests gave them beneficial

        ownership of 48,215,740 ÷ (122,532,421 + 48,215,740) = 28.24% of BBBY’s

        outstanding common stock.




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             260.   The Hudson Bay Defendants also beneficially owned more than

9.99% of BBBY’s common stock at 4 p.m. New York City time on February 9, 2023:

                    (a)     At that time, the Hudson Bay Defendants had the right to

      acquire beneficial ownership of a total of 32,500,000 shares of BBBY common

      stock within 60 days through pending conversion or exercise requests.

                    (b)     At the same time, BBBY had outstanding approximately

      154,262,331 shares of common stock.

                    (c)     At that time, therefore, the shares subject to the Hudson

      Bay Defendants’ pending conversion and exercise requests gave them beneficial

      ownership of 32,500,000 ÷ (154,262,331 + 32,500,000) = 17.40% of BBBY’s

      outstanding common stock.

             261.   The Hudson Bay Defendants also beneficially owned more than

9.99% of BBBY’s common stock at 4 p.m. New York City time on March 21, 2023:

                    (a)     At that time, the Hudson Bay Defendants had the right to

      acquire beneficial ownership of a total of 46,156,987 shares of BBBY common

      stock within 60 days through pending conversion or exercise requests.

                    (b)     At the same time, BBBY had outstanding approximately

      360,698,965 shares of common stock.

                    (c)     At that time, therefore, the shares subject to the Hudson

      Bay Defendants’ pending conversion and exercise requests gave them beneficial

      ownership of 46,156,987 ÷ (360,698,965 + 46,156,987) = 11.34% of BBBY’s

      outstanding common stock.




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               262.   These end-of-day snapshots actually understate the extent of the

Hudson Bay Defendants’ incursions into the 10% territory the blockers were supposed to

defend.

               263.   A review of all of the conversion and exercise requests received by

BBBY, together with DWAC records evidencing the satisfaction of those requests,

reveals that the Hudson Bay Defendants’ pending conversion and exercise requests gave

them the right to acquire beneficial ownership of more than 9.99% of BBBY’s common

stock from approximately 9:45 a.m. on February 7, 2023 until about 2 p.m. on

February 10, 2023, and then again from about 4:25 p.m. on March 20, 2023 until the

early afternoon of March 22, 2023.

               264.   The Hudson Bay Defendants submitted nearly 20 conversion or

exercise requests to BBBY during these periods.

               265.   According to the Hudson Bay Defendants’ own records,




                                   .

               266.   Each of those conversion and exercise requests was submitted in

violation of the 9.99% cap purportedly set by the blockers.

               267.   And in each of those conversion and exercise requests, the Hudson

Bay Defendants materially breached their beneficial ownership representation to BBBY.

               268.   Yet all of these violative requests were fulfilled, and none was ever

withdrawn, nullified, or voided.




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               269.    The paramount proof of the blockers’ ineffectiveness is in the

pudding: the blockers could not, because they did not, contain the Hudson Bay

Defendants’ beneficial ownership.

               270.    While not the only evidence of the blockers’ ineffectiveness, the

repeated failure to limit conversions and exercises of the Derivative Securities in excess

of the 9.99% cap is powerful evidence that the blockers were not an effective and binding

limitation on the Hudson Bay Defendants’ beneficial ownership of BBBY common stock.

               2.      The Blockers Placed No Limit on the Hudson Bay Defendants’
                       Dispositive Power over the Underlying Shares

               271.    By their terms, the blockers purported to limit only conversions or

exercises of the Derivative Securities.

               272.    Nothing in the blockers placed any limit on the Hudson Bay

Defendants’ power to dispose or direct the disposition of the underlying shares, including

through sales made before the shares were issued.

               273.    That lacuna is critical because dispositive power over a security is

sufficient for beneficial ownership under Rule 13d-3(a). The rule assigns beneficial

ownership to anyone who has “investment power” over the security, “which includes the

power to dispose, or to direct the disposition of, such security.” 17 C.F.R. § 240.13d-

3(a)(2).

               274.    So long as the Derivative Securities were outstanding, the Hudson

Bay Defendants had the power to sell the underlying shares at any time and in any

amount, and nothing in the terms of the Derivative Securities limited that power.

               275.

                                    .



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               276.




               277.



               278.

                                                It was not until approximately 1:45 p.m. on

February 8 that BBBY issued and delivered by book-entry transfer the first share of

common stock underlying the Hudson Bay Defendants’ Derivative Securities.

               279.




               280.




               281.    The extent of the Hudson Bay Defendants’ dispositive power over

the shares underlying the Derivative Securities is evident not only at the time the shares

were sold but also at the time of delivery.

               282.



                        the Hudson Bay Defendants submitted a total of 15 conversion or

exercise requests, including six exercise requests on February 8.




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                283.   The six exercise requests submitted on February 8, which covered

a total of 19.5 million BBBY shares, were submitted at staggered times throughout the

day, with the first            and the last

                284.   Even though the exercise requests were staggered

     , all 19.5 million underlying shares covered by those requests were issued and

delivered to the Hudson Bay Defendants by book-entry transfer in two lump sums just

one second apart                                       at 9:27 a.m. on February 10.

                285.   At the time of delivery, those 19.5 million shares represented more

than 10.1% of BBBY’s shares outstanding, even after including in shares outstanding all

shares subject to the Hudson Bay Defendants’ pending conversion and exercise requests.

                286.   At 9:27 a.m. on February 10, therefore, the Hudson Bay

Defendants had more than 10% of BBBY’s outstanding common stock sitting in their

brokerage account.

                287.   BBBY delivered those 19.5 million shares to the Hudson Bay

Defendants’ account at Fidelity Investments because that is where the Hudson Bay

Defendants directed BBBY to deliver them.

                288.   So those 19.5 million shares represented more than 10% of BBBY

shares outstanding, and the Hudson Bay Defendants directed their disposition.

                289.   That dispositive power, exercised over more than 10% of BBBY’s

shares outstanding, made the Hudson Bay Defendants the beneficial owners of more than

10% of BBBY’s shares outstanding within the plain terms of Rule 13d-3(a).

                290.   Exhibit K to this Complaint sets forth a table calculating the

Hudson Bay Defendants’




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         The table quantifies

                and also expresses that quantity as a percentage of shares outstanding.

              291.




              292.    Even assuming, therefore, that the constraints set by the blockers

were genuine, they constrained only the Hudson Bay Defendants’ acquisitions of the

BBBY common stock underlying the Derivative Securities. The Hudson Bay Defendants

remained free to dispose of the underlying shares in any amount and at any time.

              293.




              294.    Nothing in the terms of the Derivative Securities or the law,

however, required the Hudson Bay Defendants to submit conversion or exercise requests

to BBBY before selling the underlying shares to a private purchaser off the market.

              295.    In the case of a privately negotiated transaction, the Hudson Bay

Defendants were free to enter an agreement to sell the underlying shares in any amount

and at any time, regardless of whether conversion or exercise requests had previously

been submitted to BBBY.

              296.    Suppose for example that the Hudson Bay Defendants found a

buyer willing to purchase 200 million BBBY shares — a block that exceeded 10% of

shares outstanding at any point in BBBY’s corporate history.




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               297.   The Hudson Bay Defendants had the power to immediately enter

into an agreement to sell the entire 200 million-share block and then submit a conversion

or exercise request directing BBBY to issue the shares to the buyer.

               298.   The blockers would not bar this transaction, notwithstanding that

the shares sold amounted to more than 10% of shares outstanding.

               299.   The Hudson Bay Defendants always retained the power under the

blockers to direct the disposition of a 10%+ block of stock to make delivery on prior

sales.                                 when they directed the disposition of the

19.5 million-share block issued by BBBY on February 10 as alleged above.

               300.   BBBY could not stop such a transaction even if it wanted to

because it had no way of knowing                                                        .

               301.   A buyer who wished to obscure the size of his purchase could take

piecemeal delivery. If the Hudson Bay Defendants directed BBBY to deliver a control

block to separate accounts at different financial institutions, BBBY would never know

that a single investor had bought the entire block in a single trade from the Hudson Bay

Defendants.

               302.   The Derivative Securities thus made possible a rapid and

unanticipated change in control of the issuer, which is exactly what the Williams Act was

meant to regulate.

               303.   The terms of the Derivative Securities gave the Hudson Bay

Defendants dispositive power over the underlying securities in another respect: through

the “Required Reserve Amount.”




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               304.    The Required Reserve Amount was a portion of BBBY’s

authorized but unissued common stock (or treasury stock) that BBBY was required to

reserve for issuance to holders of the Derivative Securities to satisfy conversion or

exercise requests.

               305.    Specifically, BBBY had to reserve a number of shares of BBBY

common stock equal at any time to (a) 200% (100% after March 30) of the total number

of BBBY shares then underlying the Series A Preferred, (b) 100% of the total number of

shares then underlying the Common Warrants, and (c) 150% of the total number of

shares issuable upon conversion of all of the Series A Preferred then underlying the

Preferred Warrants.

               306.    The reserve requirement for the Series A Preferred is set forth in

Section 11(a) of the Certificate of Amendment of the Certificate of Incorporation that

BBBY filed with the New York Secretary of State on February 6, 2023 and reads as

follows:

               Reservation. So long as any Preferred Shares remain outstanding,
               the Company shall at all times reserve at least 200% of the
               aggregate number of shares of Common Stock as shall from time
               to time be necessary to effect the conversion, including without
               limitation, Alternate Conversions, of all of the Preferred Shares
               then outstanding from the authorized and unreserved shares of
               Common Stock or from treasury shares available for reissuance
               (without regard to any limitations on conversions) (the “Required
               Reserve Amount”). The Required Reserve Amount (including,
               without limitation, each increase in the number of shares so
               reserved) shall be allocated pro rata among the Holders based on
               the number of the Preferred Shares held by each Holder on the
               Initial Issuance Date or increase in the number of reserved shares,
               as the case may be (the “Authorized Share Allocation”). In the
               event that a Holder shall sell or otherwise transfer any of such
               Holder’s Preferred Shares, each transferee shall be allocated a pro
               rata portion of such Holder’s Authorized Share Allocation. Any
               shares of Common Stock reserved and allocated to any Person



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                 which ceases to hold any Preferred Shares shall be allocated to the
                 remaining Holders of Preferred Shares, pro rata based on the
                 number of the Preferred Shares then held by the Holders.
                 Notwithstanding the foregoing, a Holder may allocate its
                 Authorized Share Allocation to any other of the Securities held by
                 such Holder (or any of its designees) by delivery of a written
                 notice to the Company.

Ex. A § 11(a).

                 307.   The reserve requirement for the Common Warrants is similarly

worded and found in Section 1(g)(i) of the form of warrant.

                 308.   Ostensibly, the reserve requirement in the Preferred Warrants

extended only to the underlying Series A Preferred and did not require BBBY to reserve

for issuance to the Hudson Bay Defendants any common stock issuable upon conversion

of that underlying Series A Preferred.

                 309.   But a separate reserve requirement covering the common stock

issuable upon conversion of the Series A Preferred underlying the Preferred Warrants

was slipped into the Side Letter. See Ex. G § 2(h).

                 310.   The Required Reserve Amount for all of the Derivative Securities

thus extended to substantially all of BBBY’s authorized but unissued stock, as well as

substantially all of its previously issued stock then held in treasury.

                 311.   The Required Reserve Amount earmarked the vast majority of

BBBY’s fully diluted equity for issuance (or reissuance) to the Hudson Bay Defendants

to satisfy conversion or exercise requests under their Derivative Securities.

                 312.   BBBY was barred from transferring any of these earmarked shares

to persons other than the Hudson Bay Defendants.

                 313.   The calculation of the Required Reserve Amount disregarded the

blockers. Even when the Hudson Bay Defendants were supposedly blocked from


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acquiring beneficial ownership of the underlying shares in excess of the 9.99% cap, they

enjoyed the power to stop BBBY from transferring those excess shares to anyone else.

               314.    The Hudson Bay Defendants could freely waive the Required

Reserve Amount.

               315.    The power to waive the Required Reserve Amount gave the

Hudson Bay Defendants an effective veto over BBBY’s disposition of the reserved

shares. The Hudson Bay Defendants could enforce the Required Reserve Amount to

block a transfer to which they objected or waive the Required Reserve Amount to

greenlight a transfer of which they approved.

               316.    Waiver of the Required Reserve Amount was possible even under

the Series A Preferred. BBBY’s amended certificate of incorporation purported to bar

waivers of the blockers, see Ex. A § 22, but nothing in the certificate barred waiver of the

Required Reserve Amount.

               317.    There were no transfer restrictions in the Derivative Securities, and

the reserved shares followed any transfers. If the Hudson Bay Defendants sold a portion

of the Derivative Securities to another party, the Required Reserve Amount was

proportionally reallocated to the buyer.

               318.    The transferability of the Required Reserve Amount allowed the

Hudson Bay Defendants to direct dispositions of the underlying shares to whomever they

wanted. Even if the Hudson Bay Defendants already owned 9.99% of BBBY’s common

stock (and were ostensibly blocked from acquiring more), they could always sell a

portion of their Series A Preferred to another buyer, who could immediately convert it.




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               319.    The Required Reserve Amount thus gave the Hudson Bay

Defendants significant dispositive power over the shares underlying their Derivative

Securities. If the Hudson Bay Defendants did not want the underlying shares transferred

to someone, they could invoke the Required Reserve Amount to stop BBBY from

transferring the shares. If they did want the shares transferred to someone, they could sell

that person a portion of the Derivative Securities and let the buyer convert or exercise the

Derivative Securities to acquire the underlying shares himself.

               320.    The value of the Hudson Bay Defendants’ dispositive power over

the reserved shares is evident from the Exchange Agreement.

               321.    Absent the Required Reserve Amount, BBBY might just as well

have left the Preferred Warrants outstanding. There was always some hope, however

remote, that a freak surge in the stock price would allow BBBY to force an exercise of

the Preferred Warrants and thereby raise more cash.

               322.    But BBBY needed to cancel the Preferred Warrants to free the

underlying common stock from the clamp of the Required Reserve Amount.

               323.    By March 29, 2023, the Required Reserve Amount for the

Preferred Warrants consumed all of BBBY’s authorized but unissued common stock.

               324.    BBBY desperately needed to sell that stock to raise cash, but the

Hudson Bay Defendants would not allow it to be sold as long as the stock was included

in the Required Reserve Amount for the Preferred Warrants.

               325.    The at-the-market financing through B. Riley Securities, Inc., for

example, could not move forward while the shares BBBY proposed to sell were

earmarked for the Hudson Bay Defendants through the Required Reserve Amount.




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               326.   The Exchange Agreement released the stock from this

encumbrance by cancelling the Preferred Warrants, but at a cost to BBBY of

10,000,000 shares of common stock, plus rights to another 5,000,000 BBBY shares.

               327.   Those 10,000,000 shares alone had a market value of $7,734,000 at

the time the Exchange Agreement was signed.

               328.   The Required Reserve Amount thus gave the Hudson Bay

Defendants such formidable power over the disposition of the BBBY shares underlying

the Preferred Warrants that BBBY had to pay more than $7 million to extinguish that

power.

               3.     Summary

               329.   The blockers failed to limit the Hudson Bay Defendants’ beneficial

ownership of BBBY common stock for two reasons.

               330.   First, the blockers were an illusory contrivance that placed no

genuine constraint on the Hudson Bay Defendants’ conversions and exercises of the

Derivative Securities. The blockers were effectively unenforceable, easily amended or

waived, and repeatedly breached. De facto, there was no limit on the Hudson Bay

Defendants’ right to acquire immediate beneficial ownership of all BBBY shares

underlying the Derivative Securities.

               331.   Second, the blockers left the Hudson Bay Defendants with

significant investment power over the shares underlying the Derivative Securities. The

Hudson Bay Defendants retained the power to make sales of the underlying shares in

unlimited amounts at any time. They also had the power through the Required Reserve

Amount to dictate the persons to whom BBBY could or could not transfer the underlying

shares.


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             Table 3. Conversions of the Series A Preferred by the Hudson Bay
                 Defendants between February 7, 2023 and April 18, 2023.

               Shares of Series A                                      Shares of BBBY
  Date        Preferred Converted          Conversion Price         Common Stock Acquired
02/07/2023             900                       $2.3727                        3,793,148
02/07/2023             900                       $2.3727                        3,793,148
02/07/2023             900                       $2.3727                        3,793,148
02/07/2023             900                       $2.3727                        3,793,148
02/07/2023             900                       $2.3727                        3,793,148
02/14/2023             810                       $1.7165                        4,718,905
02/14/2023             540                       $1.7165                        3,145,937
02/15/2023             850                       $1.7165                        4,951,938
02/15/2023             850                       $1.7165                        4,951,938
02/15/2023             100                       $1.7165                         582,581
02/16/2023             197                       $1.6822                        1,171,086
02/16/2023             197                       $1.6822                        1,171,086
02/17/2023             400                       $1.6806                        2,380,103
02/17/2023             400                       $1.6806                        2,380,103
02/17/2023             400                       $1.6806                        2,380,103
02/21/2023             365                       $1.5317                        2,382,974
02/21/2023             365                       $1.5317                        2,382,974
02/21/2023             228                       $1.5317                        1,488,543
02/22/2023             325                       $1.4605                        2,225,266
02/22/2023             325                       $1.4605                        2,225,266
02/22/2023             325                       $1.4605                        2,225,266
02/23/2023             343                       $1.3880                        2,471,182
02/27/2023             352                       $1.3562                        2,595,488
02/27/2023             352                       $1.3562                        2,595,488
02/27/2023             352                       $1.3562                        2,595,488
02/28/2023             307                       $1.2995                        2,362,448
02/28/2023             307                       $1.2995                        2,362,448
02/28/2023             307                       $1.2995                        2,362,448
02/28/2023             307                       $1.2995                        2,362,448
03/01/2023           1,040                       $1.2995                        8,003,079
03/02/2023           1,040                       $1.2995                        8,003,079
03/03/2023           1,040                       $1.2995                        8,003,079
03/13/2023             320                       $1.1226                        2,850,526




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              Shares of Series A                           Shares of BBBY
  Date       Preferred Converted    Conversion Price    Common Stock Acquired
03/13/2023           320                  $1.1226              2,850,526
03/13/2023           320                  $1.1226              2,850,526
03/14/2023           308                  $1.0771              2,859,531
03/14/2023           308                  $1.0771              2,859,531
03/14/2023           154                  $1.0771              1,429,766
03/14/2023           154                  $1.0771              1,429,766
03/15/2023           269                  $0.9631              2,793,065
03/15/2023           144                  $0.9631              1,495,172
03/15/2023           144                  $0.9631              1,495,172
03/15/2023            72                  $0.9631               747,586
03/16/2023           200                  $0.9631              2,076,628
03/16/2023           200                  $0.9631              2,076,628
03/16/2023           200                  $0.9631              2,076,628
03/16/2023           100                  $0.9631              1,038,314
03/16/2023            20                  $0.9631               207,663
03/17/2023           198                  $0.9514              2,081,144
03/17/2023            99                  $0.9514              1,040,572
03/20/2023           164                  $0.7777              2,108,783
03/20/2023           164                  $0.7777              2,108,783
03/20/2023           164                  $0.7777              2,108,783
03/20/2023            82                  $0.7777              1,054,392
03/20/2023            82                  $0.7777              1,054,392
03/20/2023         1,700                  $0.7777             21,859,329
03/21/2023         1,200                  $0.7565             15,862,525
03/22/2023           600                  $0.7565              7,931,263
03/23/2023           900                  $0.7440             12,096,775
04/03/2023           850                  $0.7160             11,871,509
04/05/2023           650                  $0.7160              9,078,213
04/10/2023         1,419                  $0.7160             19,818,436
04/12/2023         2,100                  $0.7160             29,329,609
04/17/2023         1,800                  $0.7160             25,139,665




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               340.   Each conversion of the Series A Preferred was made at a floating

conversion price and qualified as a nonexempt purchase of the underlying shares at that

price for purposes of Section 16(b).

       C.      Acquisitions of Additional Common Warrants (Section 16(b)
               Purchases)

               341.   Each Preferred Warrant was exercisable at a price of $9,500.00 to

receive (a) one share of Series A Preferred Stock, and (b) an additional number of

Common Warrants equal to 50% of the number of shares of BBBY common stock

underlying each share of Series A Preferred Stock at the then-effective conversion price.

               342.   Consider as an example the Hudson Bay Defendants’ acquisition

of 2,500 new shares of Series A Preferred upon exercise of the Preferred Warrants on

February 15, 2023. At the prevailing conversion rate of $1.7165, those shares of Series A

Preferred were convertible into ($10,000 × 2,500) ÷ $1.7165 = 14,564,521 shares of

BBBY common stock. The Hudson Bay Defendants also received, therefore, 50% ×

14,564,521 = 7,282,261 new Common Warrants.

               343.   Whenever the Preferred Warrants were exercised, the Hudson Bay

Defendants paid a fixed price for the underlying Series A Preferred: the same $9,500.00

exercise price always bought exactly one share of Series A Preferred.

               344.   The price of the Common Warrants, however, was not fixed. The

number of Common Warrants issued upon exercise of a Preferred Warrant, and thus the

cost per Common Warrant, varied with the conversion price of the Series A Preferred,

which in turn floated with the market price of BBBY common stock.

               345.   Because the Hudson Bay Defendants’ acquisitions of the Common

Warrants after February 7 were made at floating exercise prices, those acquisitions enjoy



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no exemption from Section 16(b) of the Act. For purposes of Section 16(b), those

acquisitions for valuable consideration are treated as nonexempt purchases of the shares

underlying the Common Warrants at the shares’ contemporaneous market price.

               346.      The contemporaneous market price of BBBY’s common stock at

the time of each exercise of the Preferred Warrants may be estimated from the closing

price of BBBY’s common stock on the date of exercise. Discovery will determine the

actual market price of BBBY’s common stock at the time each exercise notice was

delivered.

               347.      Based on the closing price on the date of each exercise, the Hudson

Bay Defendants are deemed to have purchased the following BBBY shares at the

following prices upon exercises of the Preferred Warrants:

                         Table 4. Section 16(b) Purchases Through Acquisitions
                      of Common Warrants Upon Exercises of Preferred Warrants.

                           Common Warrants            Underlying Shares             Price per
   Date of Exercise           Acquired                Deemed Purchased           Underlying Share

      02/15/2023                7,282,261                 7,282,261                  $1.9300

      02/23/2023                9,005,764                 9,005,764                  $1.5000

      03/07/2023               37,304,610                37,304,610                  $1.3400


       D.      The Alternate Cashless Exercises of the Common Warrants
               (Section 16(b) Sales)

               348.      The Hudson Bay Defendants exercised all of their Common

Warrants on an “alternate cashless” basis, surrendering 35% of the underlying shares to

fund the exercise of the warrants.




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                349.     For purposes of Section 16(b) of the Act, the surrender of the

shares used to fund the exercise of the warrants is treated as a sale of those shares back to

BBBY at their market value.

                350.     Table 5 below lists each alternate cashless exercise of the Common

Warrants. The table includes the date of exercise, the number of underlying shares, the

number of shares surrendered to fund the exercise of the warrant, and the

contemporaneous market price of BBBY’s common stock.

                  Table 5. Alternate Cashless Exercises of the Common Warrants.

                      Common              Shares        Surrendered Shares        Contemporaneous
      Date         Stock Warrants         Issued          (Deemed Sold)             Market Price
     02/07/23           5,000,000        3,250,000           1,750,000                $3.2350
     02/07/23           5,000,000        3,250,000           1,750,000                $3.0350
     02/07/23           5,000,000        3,250,000           1,750,000                $3.2800
     02/07/23           5,000,000        3,250,000           1,750,000                $3.3550
     02/08/23           5,000,000        3,250,000           1,750,000                $3.0000
     02/08/23           5,000,000        3,250,000           1,750,000                $2.7450
     02/08/23           5,000,000        3,250,000           1,750,000                $2.6250
     02/08/23           5,000,000        3,250,000           1,750,000                $2.5750
     02/08/23           5,000,000        3,250,000           1,750,000                $2.6100
     02/08/23           5,000,000        3,250,000           1,750,000                $2.6050
     02/09/23           5,000,000        3,250,000           1,750,000                $2.9150
     02/09/23           5,000,000        3,250,000           1,750,000                $2.6250
     02/09/23           5,000,000        3,250,000           1,750,000                $2.5350
     02/09/23           5,000,000        3,250,000           1,750,000                $2.6000
     02/10/23           5,000,000        3,250,000           1,750,000                $2.3100
     02/10/23           5,000,000        3,250,000           1,750,000                $2.3100
     02/13/23           5,000,000        3,250,000           1,750,000                $2.0200
     02/13/23           4,399,400        2,859,610           1,539,790                $2.0550
     02/16/23           7,281,280        4,732,832           2,548,448                $1.8750
     02/23/23           8,558,000        5,562,700           2,995,300                $1.6100
     02/24/23            447,764          291,047              156,717                $1.4600
     03/08/23          25,000,000       16,250,000           8,750,000                $1.3250




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                      Common              Shares         Surrendered Shares    Contemporaneous
      Date         Stock Warrants         Issued           (Deemed Sold)         Market Price
     03/10/23          12,304,610        7,997,997           4,306,613             $1.2500
     03/30/23               1,000             650                 350              $0.7448


       E.       The Preferred Warrant Amendments (Section 16(b) Purchase and
                Sale)

                351.     On March 13, 2023, the Hudson Bay Defendants and BBBY

agreed to amend the market price and volume conditions of the Preferred Warrants.

                352.     These amendments were material in that they materially changed

the risk and reward offered by the Preferred Warrants. In particular, the reduction of the

minimum price condition from $1.25 per share to $1.00 per share significantly increased

the risk that the Hudson Bay Defendants would lose money from a stock decline after a

forced exercise of the Preferred Warrants.

                353.     The Hudson Bay Defendants’ consent to lower the price threshold

represented a calculated wager that BBBY’s stock price was just firm enough for the

Hudson Bay Defendants

                                                     .

                354.     For purposes of Section 16(b) and the SEC’s rules and guidance

thereunder, the material amendment of a derivative security is treated as the grant of a

new security in consideration for the issuer’s cancellation of the old one.

                355.     The grant and cancellation of the derivative security are in turn

treated as the purchase and sale of the underlying stock at the stock’s contemporaneous

market price.




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              356.    At the time of the March 13 amendment, the Series A Preferred

underlying the Preferred Warrants was convertible into as many as 623,588,100 shares of

BBBY common stock.

              357.    At the time of the March 13 amendment, a full exercise of the

Preferred Warrants also entitled the Hudson Bay Defendants to receive additional

Common Warrants exercisable to acquire as many as 311,794,050 shares of BBBY

common stock.

              358.    Thus, a total of 935,382,150 shares of BBBY common stock

underlay the Preferred Warrants at the time of the March 13 amendment.

              359.    The contemporaneous market price of BBBY’s common stock at

that time was approximately $1.24 per share, based on the stock’s closing price on

March 13, 2023.

       F.     The Exchange Agreement (Section 16(b) Purchase and Sale)

              360.    The Hudson Bay Defendants received 10,000,000 shares of BBBY

common stock and 5,000,000 common stock rights in exchange for the cancellation of

the Preferred Warrants under the Exchange Agreement.

              361.    For purposes of Section 16(b), the Exchange Agreement is treated

as a purchase of 15,000,000 new BBBY shares at their market price and in consideration

for the sale of the Preferred Warrants back to BBBY.

              362.    The sale of the Preferred Warrants is treated in turn as a sale of the

underlying BBBY shares at their contemporaneous market price for purposes of

Section 16(b) and the SEC’s rules and regulations thereunder.

              363.    At the time of the March 30 Exchange Agreement, a total of

935,382,150 shares of BBBY common stock underlay the Preferred Warrants.


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               364.    The contemporaneous market price of BBBY’s common stock at

that time was approximately $0.7734 per share, based on the stock’s opening price on

March 30.




V.      THE PROFIT

               368.    The Hudson Bay Defendants’ short-swing transactions in BBBY’s

equity securities described above are matchable under Section 16(b) of the Act using the

“lowest in, highest out” rule of profit calculation.

               369.    For purposes of this calculation, the Hudson Bay Defendants’

transactions in the Preferred Warrants, Common Warrants,                   are matchable

as purchases and sales of the underlying common stock at the stock’s contemporaneous

price. See 17 C.F.R. §§ 240.16a-1(b), (c), 240.16b-6(c)(2).

               370.    So matched, the Hudson Bay Defendants’ least expensive

purchases of               shares of BBBY common stock at a weighted average purchase

price of approximately $0.8745 per share, and their most expensive sales




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                   , yielded the Hudson Bay Defendants a total profit of $310,061,851.69.

                371.    Under Section 16(b), that profit belongs to BBBY, and BBBY will

recover it in this action.

                     SOLE CLAIM FOR RELIEF:
       RECOVERY OF SHORT-SWING PROFIT UNDER 15 U.S.C. § 78p(b)
             (AGAINST EACH HUDSON BAY DEFENDANT)

                372.    BBBY realleges and incorporates by reference the allegations in

paragraphs 1-371 above.

                373.    Section 16(b) of the Securities Exchange Act of 1934, as amended,

reads in pertinent part as follows:

                For the purpose of preventing the unfair use of information which
                may have been obtained by [a 10 percent] beneficial owner,
                director, or officer by reason of his relationship to the issuer, any
                profit realized by him from any purchase and sale, or any sale and
                purchase, of any equity security of such issuer (other than an
                exempted security) or a security-based swap agreement involving
                any such equity security within any period of less than six months,
                unless such security or security-based swap agreement was
                acquired in good faith in connection with a debt previously
                contracted, shall inure to and be recoverable by the issuer,
                irrespective of any intention on the part of such beneficial owner,
                director, or officer in entering into such transaction of holding the
                security or security-based swap agreement purchased or of not
                repurchasing the security or security-based swap agreement sold
                for a period exceeding six months. Suit to recover such profit may
                be instituted at law or in equity in any court of competent
                jurisdiction by the issuer, or by the owner of any security of the
                issuer in the name and in behalf of the issuer if the issuer shall fail
                or refuse to bring such suit within sixty days after request or shall
                fail diligently to prosecute the same thereafter; but no such suit
                shall be brought more than two years after the date such profit was
                realized.

15 U.S.C. § 78p(b).




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               374.   At all times between February 7, 2023 and the morning of

April 18, 2023, each Hudson Bay Defendant beneficially owned more than 10% of

BBBY’s outstanding common stock and was subject to Section 16(b) of the Act.

               375.   While subject to Section 16(b) of the Act, the Hudson Bay

Defendants purchased and sold BBBY’s equity securities as further described herein.

               376.   Certain of the Hudson Bay Defendants’ purchases of BBBY’s

equity securities were made at lower prices than certain of the Hudson Bay Defendants’

sales of BBBY’s equity securities.

               377.   All of the Hudson Bay Defendants’ purchases and sales of

BBBY’s equity securities were made within a single period of less than six months.

               378.   Each Hudson Bay Defendant had a direct or indirect pecuniary

interest in all of the purchases and sales of BBBY’s equity securities described herein.

               379.   Under the “lowest-in, highest-out” method for computing realized

profit pursuant to Section 16(b) of the Act, the Hudson Bay Defendants realized a profit

of not less than $310,061,851.69 from their transactions in BBBY’s equity securities

described herein.

               380.   Under Section 16(b) of the Act, the profit realized by the Hudson

Bay Defendants as described herein inured to and is recoverable by BBBY.

                                PRAYER FOR RELIEF

       WHEREFORE, BBBY prays this Court for judgment:

       (a)     Requiring each Hudson Bay Defendant to account for and pay over to

               BBBY the short-swing profit realized and retained by such Hudson Bay

               Defendant in violation of Section 16(b) of the Act in an amount not less




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               than $310,061,851.69, together with appropriate pre- and post-judgment

               interest and the costs of this suit;

       (b)     Awarding BBBY its costs and disbursements including reasonable

               attorney’s, accountant’s, and expert witness fees; and

       (c)     Granting BBBY such further relief as the Court deems just and proper.

                             DEMAND FOR JURY TRIAL

               To the extent BBBY’s right to a trial by jury has not been effectively

waived under the terms of the Derivative Securities, BBBY respectfully demands a trial

by jury on every question so triable.

Dated: April 29, 2024

                                                 Respectfully submitted,

                                                 /s/ James A. Hunter

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